Case 3:20-cv-01043-RJD Document 1-1 Filed 10/02/20 Page 1of13 PagérdladAoos 4:27 pm

ree ek
Case Number 2020L 604240 EFILED

AFFIDAVIT OF SERVICE Mark Von Nida

Cierk of Circuit Court :

i j ircuit, Madi ¢ Wino
2020-L-1240, MADISON COUNTY, ILLINOIS, ™™G “ucieial Circuit, Madison County Illinois

 

NOTARIZED COUNTY:
STATE: ILLINOIS MADISON JOB NO: 213843
United States of America

 

I, CHRIS MASON, being duly sworn on oath, state that | affected service as follows:

CLIENT: THE DARR FIRM
TYPE OF DOCUMENT: SUMMONS AND COMPLAINT
TYPE OF SERVICE: PERSONAL SERVICE

I.NAME OF PERSON ATTEMPTED UPON: STANFORD GALLION
2.DOCUMENT GIVEN TO IF DIFFERENT: ,

3.DESCRIPTION: Sex: Male - Skin: Black - Hair: Bald - Approx. Age: 48 - Height: 6'0"
~ Weight: 220

4.ADDRESS: 12417 EARLY MORNING DR, Florissant MO 63033

5.DATE: 09/12/2020 Time of Service: 1:17 PM.

6.COURT DATE:

CASE NUMBER : 2020-L-1240

CASE NAME:
JIRUSHAYA HOGAN

VS
STANFORD GALLION AND GROENDYKE TRANSPORT INC

LBA AA

Oman MASON
License(s): 129.333306

EXHIBIT Lee

 

Comments: Signature not obtained

Signed and sworn to before me on

 

 

 

 

 

 

 

\ ’ Cast of Service:
INVESTIGATIONS LTD
*21 584% TL, DUT. LEC: 117-001201
GLEN CARBON, LL 62034
618-288-6662
OFFICIAL SEAL
JANICE LYBARGER
NOTARY PUBLIC, STATE OF ILLINOIS
JERSEY GOUNTY
PMY COMMISSION EXPIRES 09/17/2022

 

 
 

Case 3:20-cv-01043-RJD Document 1-1 Filed 10/02/20 Page 20f13 Page ID #5
*“EFILED** |

Case Number 20204 001240°
Date: 9/9/2020 4:32 PM:
Mark Von Nida:

AFFIDAVIT OF . SERVICE a Third Judicial Circult, Madison County llinols,
202011240, MADISON COUNTY, ILLINOIS,
ore 2020L 001240

 

NOTARIZED COUNTY:
STATE: ILLINOIS MADISON JOB NO: 213842
United States of America

 

L CRAIG VENTIMIGLIA, being duly sworn on oath, state that I affected service as
follows:

CLIENT: THE DARR FIRM
TYPE OF DOCUMENT: SUMMONS AND COMPLAINT
TYPE OF SERVICE: PERSONAL SERVICE

].NAME OF PERSON ATTEMPTED UPON: GROENDYKE TRANSPORT INC

2. DOCUMENT GIVEN TO IF DIFFERENT: JOSH ALBERT, Terminal Manager,
3, DESCRIPTION: Sex: Male - Skin: Caucasian - Hair: Brown - Approx. Age: Approx
40 - Height: 6°00" - Weight: 200

4, ADDRESS: 3141 W CHAIN OF ROCKS ROAD, Granite City IL. 62040
5.DATE: 09/03/2020 Time of Service: 11:27 AM

6.COURT DATE:

CASE NUMBER : 2020-L-1240

CASE NAME:
JIRUSHAYA HOGAN

VS
STANFORD GALLION AND GROENDYKE TRANSPORT INC

Comments: I obtained a signature.

 

 

     
   

 

 

  

a all Ca
Signed and sworn to before me on E
this 4th day of September, 2020. CRAIG VENTIMIGUIA
~ bs License(s): 0129-302956 OFFICIAL SEAL,
RS SER TAN WA JANICE LYBARGER
; : - NOTARY PUBLIC, STATE OF ILLINGSS
\ Cost of Serviee: JERSEY COUNTY
Ost OF pervice: IMY COMMISSION EXPIRES 0917/2022
INVESTIGATIONS LTD
#2498d2e WL. DET. LIC: 117-001201

GLEN CARBON, IL 62034
618-288-6662

 
Case 3:20-cv-01043-RJD Document 1-1 Filed 10/02/20 Page 30f13 Page ID #6
**EFILED***

Case Number 2020L 001240

Date: 8/31/2020 9:01 AM

Mark Von Nida

Clerk of Circuit Court

Third Judicial Circuit, Madison County Hlinols

STATE OF ILLINOIS
IN THE CIRCUIT COURT OF THE THIRD JUDICIAL CIRCUIT
COUNTY OF MADISON

JIRUSHAYA HOGAN,
Plaintiff,
No. 20-L- 2020L 001240

VS.

STANFORD GALLION and
GROENDYKE TRANSPORT, iNC.,

Meet See Same Meee! eet Se el ee haere Set

Defendants.

ENTRY OF APPEARANGE
Now comes Lanny Darr and hereby enters his appearance as attorney of

record for the plaintiff, Jirushaya Hogan.

By: fsfLanny Darr
Lanny Darr (#06205283)
Darr Law Offices, Lid.
30/ Henry Street, Suite 406
Alton, IL 62002
Phone: (618) 208-6828
Fax: (618) 433-8519
darr@darrfirm.com

Service by facsimile transmission
or via email will be accepted at the
stated facsimile and/or email
stated above.

Page 1 of 4
20-L-
Case 3:20-cv-01043-RJD Document 1-1 Filed 10/02/20 Page 4o0f13 Page ID #7
*“*EFILED**

Case Number 2020L 001240

Date: 8/31/2020 9:04 AM

Mark Von Nida

Clerk of Circuit Court

Third Judiciat Circuit, Madison County Illinois

STATE OF ILLINOIS
IN THE CIRCUIT COURT OF THE THIRD JUDICIAL CIRCUIT
COUNTY OF MADISON

JIRUSHAYA HOGAN,

Plaintiff, 2020L 001240

VS. No. 20-L-

STANFORD GALLION and
GROENDYKE TRANSPORT, INC.,

Newer ee el eel ee et eet niet mage eet

Defendants.
CERTIFICATION
|, Lanny Darr, being the attorney for the plaintiff, Jacob Hansen, hereby
certifies that the foregoing complaint seeks damages in an amount in excess

of Fifty Thousand Dollars ($50,000.00).

By: /s/ Lanny Darr
Lanny Darr = (#06205283)
Darr Law Offices, Ltd.
307 Henry Street, Suite 406
Alton, IL 62002
Phone: (618) 208-6828
Fax: (618) 433-8519
darr@darrfirm.com

Service by facsimile transmission
or via email will be accepted at the
stated facsimile and/or email
stated above.

Page | of 4
20-L-
Case 3:20-cv-01043-RJD Document 1-1 Filed 10/02/20 Page 5of13 Page ID #8
**EFILED***

Case Number 2020L 001240

Date: 8/34/2020 9:04 AM

Mark Von Nida

Cierk of Circuit Court

Third Judicial Circult, Madison County Hlinois

STATE OF ILLINOIS
IN THE CIRCUIT COURT OF THE THIRD JUDICIAL CIRCUIT
COUNTY OF MADISON

JIRUSHAYA HOGAN,
Plaintiff, 2020L 001240
VS. No. 20-L-

STANFORD GALLION and
GROENDYKE TRANSPORT, INC.,

et Menara See eee Sie eh Se ie ee eel

Defendants.
COMPLAINT
Plaintiff, Jirushaya Hogan, by and through her counsel, Darr Law Offices, Ltd.,
and for her cause of action against the defendants states and alleges as follows:

COUNT |
(Stanford Gallion)

1. Plaintiff, Jirushaya (Jinny) Hogan, is a resident and citizen of the unincorporated
community of Dorsey, in the County of Madison and State of Illinois.

2. Defendant, Stanford Gallion, is a resident of the City of Florissant, County of St.
Louis and State of Missouri. He is an employee of Groendyke Transport, tnc.

3. Venue is proper in this county because Groendyke Transport, Inc. does business
in this county and has its terminal at 3147 W. Chain of Rocks Rock, Granite City, Hlinois.

4. Upon information and belief, Stanford Gallion regularly operates from the Granite
City terminal.

5. On July 19, 2020, at approximately 10:05 p.m., Jirushaya Hogan was driving her
2017 Toyota Camry North on Interstate 55 near the Broadway exit and to the right of
defendant's tractor and trailer in the City of St. Louis, State of Missouri.

6. On the date and time alleged herein, defendant, Stanford Gallion, was driving a

Page | of 4
20-L-
Case 3:20-cv-01043-RJD Document 1-1 Filed 10/02/20 Page 6of13 Page ID #9

Cascadia Freightliner tractor with tanker in a generally northerly direction on Interstate
59 near the Broadway exit within the City of St. Louis, State of Missouri.

¢. That at the aforesaid time and place, defendant lost contro! of his tanker and it
fishtailed into plaintiffs vehicle and forced her off of the highway and onto an
embankment.

8. That at all times mentioned herein, defendant, Stanford Gallion, owed a duty to
others using the public roadways of the State of Missouri, to operate his tractor and
tanker with the highest degree of care and caution.

9. That the defendant breached his duty to use the highest degree of care
and caution and was then and there guilty of one or more of the following negligent acts

or omissions:

S

Negligently and recklessly failing to maintain his vehicle in his dedicated
jane of travel; and/or

b. Negligently and recklessly applying brakes to the vehicle in a manner so
as to cause the tanker to leave the dedicated lane of travel; and/or

c. Negligently and recklessly failing to keep such lookout as a person of
ordinary prudence would keep under the same or similar circumstances;
and/or

d. Negligently and recklessly driving while distracted; and/or
e. Negligently and recklessly failing to be properly attentive: and/or

f. Negligently and recklessly failing to take appropriate evasive action:
and/or

g. Negligently and recklessly failing to inspect its vehicle in a manner
considerate of the safety and lives of the other persons lawfully on the
road; and/or

h. Negligently and recklessly operating a vehicle at a speed greater than was
reasonable, prudent and proper, having due regard for the conditions then
existing; and/or

Page 2 of 4
20-L-
Case 3:20-cv-01043-RJD Document1-1 Filed 10/02/20 Page 7 of13 Page ID #10

i. Negligently and recklessly failing to comply with all state and federal rules
of the road: and/or

j. Negligently and recklessly operating a commerciai motor vehicle in willful
or wanton disregard for the safety of persons, including Plaintiff’; and/or

k. Engaging in other acts of negligence or violations of law as may be
disclosed through further discovery.

10. That one or more of the foregoing negligent acts or omissions on the part
of the defendant was a direct and proximate cause of plaintiffs injuries hereafter
alleged.

11. That as a direct and proximate result of one or more of the negligent acts or
omissions of the defendant, plaintiff sustained injuries both temporary and permanent;
that plaintiff has incurred and will continue to incur medical, doctor and hospital bills in
an effort to be treated for her injuries; and that plaintiff has been prevented from
attending her usual duties and affairs as she had been able to do prior to this.

WHEREFORE, plaintiff, Jirushaya Hogan, prays this court enter judgment in her
favor and against the defendant, Stanford Gallion, jointly and severally with all other
defendants sued herein, in an amount in excess of Fifty Thousand Dollars ($50,000.00);
plus costs of suit.

COUNT Il
(Vicarious Liability - Groendyke Transport, Inc.)

1-10. Plaintiff realleges and incorporates herein by reference paragraphs one
(1) through ten (10) of Count | as paragraph one (1) through ten (10) of Count Il, the

same as if fully set forth herein.

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Case 3:20-cv-01043-RJD Document1-1 Filed 10/02/20 Page 80f13 Page ID #11

11. ‘That at all times mentioned herein, Stanford Gallion was acting in the

course and scope of his employment with Groendyke Transport, Inc.

12. | Groendyke Transport, Inc. is vicariously liable for the damages suffered by

the plaintiff, Jirushaya Hogan, due to the negligence of its employee.

WHEREFORE, plaintiff, Jirushaya Hogan, prays this court enter judgment in her

favor and against the defendant, Groendyke Transport, Inc., jointly and severaily with all

other defendants sued, in an amount in excess of Fifty Thousand Dollars ($50,000.00);

plus costs of suit.

By:

Page 4 of 4
20-L-

/s/Lanny Darr

Lanny Darr (#06205283)
Darr Law Offices, Ltd.

307 Henry Street, Suite 406
Alton, IL 62002

Phone: (618) 208-6828
Fax: (618) 433-8519

darr@darrfirm.com

Service by facsimile transmission
or via email will be accepted at the
stated facsimile and/or email
stated above.
Case 3:20-cv-01043-RJD Document1-1 Filed 10/02/20 Page 9of13 Page ID #12

August 31, 2020
IN THE CIRCUIT COURT
FOR THE THIRD JUDICIAL CIRCUIT
MADISON COUNTY, ILLINOIS
CASE NUMBER: 2020 L 001240
JIRUSHAYA HOGAN

Plaintiff(s)

 

STANFORD GALLION A Ug
of
Defendant(s) ‘ nk OF Cap. i)
Manike f Unx WF co
SON ¢ oun! Cie RT #5
isa)

ASSIGNMENT ORDER

The above case is hereby assigned to the Honorable DAVID W. DUGAN for setting and disposition.

Clerk to send copies of this Order to the attorneys of record and any pro se party.

DATE: August 31, 2020

s/Bill Mudge
Chief Judge
Case 3:20-cv-01043-RJD Document1-1 Filed 10/02/20 Page 100f13 Page ID #13

 

 

 

State of Mincis ) Ss 2020L 001240
; sy LL
County of Madison } Case Number 2020
In excess of $50,000.00
Amount Claimed
Jirushaya Hogan Stanford Gallion and

Groendyke Transport, Inc.

 

 

 

 

 

 

 

 

VS
Plaintiff(s) Defendant(s)
Classification Prefix Code Nature of Action Code
TO THE SHERIFF: SERVE THIS DEFENDANT AT:
Pitf, Atty, _ ony Dar Code |
Address STTY Shy SHITE SUG vee NAME Stanford Galion
City Alton, IL 62002 Phone 6162086828
Add. Pltf. Atty. Code ADDRESS 12417 Early Morning Dr.
SUMMONS COPY
To the above named defendant(s),.....: CITY& STATE — Florissant, MO 63033

;
im A. You are hereby summoned and required to appear before this court at

{court location) at M. On 20
to answer the complaint in this case, a copy of which is hereto attached. If you fail to do so, a judgment by default may
be taken against you for the relief asked in the complaint.

B. You are summoned and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, in the office of the clerk of this court within 30 days after service of this
summons, exclusive of the day of service. If you fail to do so, judgment of decree by default may be taken against you
for the relief prayed in the complaint.

TO THE OFFICER: :

This summons must be returned by the officer or other person to whom it was given for service, with
indorsement thereon of service and fees if any, immediately. after service. In the event that paragraph A of this
summons is applicable this summons may not be served less than three days before the day of appearance. If service
cannot be made, this summons shall be returned so indorsed,

This summons may not be served later than 30 days after its date. 8134/2020

WITNESS, 20
isi Mark Von Nida Clerk of the Circuit Court

Clerk of Court
BY DEPUTY: /s/ Terianne Edwards

 

 

20.

 

DATE OF SERVICE:

(To be inserted by officer on copy left with defendant
or other perran)

 
Case 3:20-cv-01043-RJD Document1-1 Filed 10/02/20 Page 110f13 Page ID #14

E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
with an e-filing service provider. Visit https://efile.illinoiscourts.gov/service-providers.him to learn more and to select a
service provider. If you need additional help or have trouble e-filing, visit http://www illinciscourts.gov/FAQ/gethelp.asp.

 

I certify that I served this summons on defendants as follows:

(a)— Undividual defendants — persona)):
By leaving a copy of the summons and a copy of the complaint with each individual defendant personally as follows:

Name of defendant Date of service

 

 

 

 

 

 

 

(b) - Individual defendants - abode):

By leaving a copy of the summons and a copy of the complaint at the usual place of abode of each individual
defendant with a person of his family, of the age of 13 years or upwards, informing that person of the contents of the
summons, and aiso by sending a copy of the summons and of the complaint in a sealed envelope with postage fully
prepaid, addressed to each individual defendant at his usual place of abode, as follows:

Name of Person with Date of Date of
defendant whom left service mailing

 

 

 

(c) - Corporation defendants): :
By leaving a copy of the summons and a copy of the complaint with the registered agent office, or agent of each
defendant corporation as follows:

 

 

 

 

 

 

 

 

Registered agent, Date of
Defendant corporation officer or agent service
(ad) - (Other service):
SHERIFE'S FEES Sheriff of Country
Service and return § , Deputy
Miles. el, $
Total occ. c cece cera eee eae $

 

 

Sheriff of County

 

 
Case 3:20-cv-01043-RJD Document1-1 Filed 10/02/20 Page 12 o0f13 Page ID #15

 

 

 

Slate of ilinais } ss 2020L 001240
f Madi ~ 2020-L-
County of Madison ) Case Number 2
In excess of $50,000.00
Amount Claimed
Jirushaya Hogan Stanford Galion and

Groendyke Transport, Inc.

 

 

 

 

 

 

 

 

VS
Plaintiff(s) Defendant(s)
Classification Prefix Code __ Nature of Action Code
: D TO THE SHERIFF: SERVE THIS DEFENDANT AT:
anny Darr
aay S07 Henry StSuite 106 Code NAME | Groendyke Transport, Inc.
City __ Alton, tt 62002 Phone 6182086828
Add. Pith Atty. Code ADDRESS 3141 W. Chain of Rocks Road
SUMMONS COPY _
To the above named defendant(s}......: CITY & STATE Granite City, IL 62040

[ Da. You are herehy summoned and required-to appear before this court at

(court location) at . M. On 20.
to answer the complaint in this case, a copy af which is hereto attached. If you fail to do so, a judgment by default may
be taken against you for the relief asked in the complaint.

B. You are summoned and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, in the office of the clerk of this court within 30 days after service of this
summons, exclusive of the day of service. If you fail te do so, judgment of decree by default may be taken against you
for the relief prayed in the complaint.

TO THE OFFICER: :

This summons must be returned by the officer or other person to whom it was given for service, with
indorsement thereon of service and fees if any, immediately. after service. In the event. that paragraph A of this
summons is applicable this summons may not be served less than three days before the day of appearance, If service
cannot be made, this summons shall be returned so indorsed.

This summons may not be served later than 30 days after its date,

  

 

  
      

 

gen bei, 8/31/2020
rane! SO, My
4 eer oS. WITNESS, 20
GT, 2. ‘sf Mark’ Von Nida Cierk of the Circult Court
% Clerk of Court

BY DEPUTY: /sf Terianne Edwards

 

  

20

meee gh DATE OF SERVICE:
@ “essay (To be inserted by alficer on copy left with defendant

 

%
Case 3:20-cv-01043-RJD Document1-1 Filed 10/02/20 Page 13 0f13 Page ID #16

E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
with an e-filing service provider. Visit https-//efiteillinoiscourts.gov/service-providers.htm to learn more and to select a
service provider. If you need additional hetp or have trouble e-filing, visit http://www. illinoiscourts_.gov/FAQ/gethelp.asp.

 

I certify that I served this summons on defendants as follows:

ia)~ (Individual defendants — personal):
By leaving a copy of the summons and a copy of the complaint with each individual defendant personally as follows:

Name of defendant Date of service

 

 

 

 

 

 

 

(b) - (ndividual defendants - abode):

By leaving a copy of the summons and a copy of the complaint at the usual place of abode of each individual
defendant with a person of his family, of the age of 13 years or upwards, informing that person of the contents of the
summons, and also by sending a copy of the summons and of the complaint in a sealed envelope with postage fully
prepaid, addressed to each individual defendant at his usual place of abode, as follows:

Name of Person with Date of Date of
defendant whom left service. mailing

 

 

{c) - Corporation defendants):
By leaving a copy of the summons and a copy of the complaint with the registered agent office, or agent of each
defendant corporation as follows:

 

 

 

 

 

 

 

Registered agent, Date of
Defendant corporation officer or agent service
{d) - (Other service):
SHERIFF'S FEES , Sheriff of County
Service and return $ Deputy
Miles ee $
Total ccc eee ees $

 

Sheriff of. County

 

 

 
